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                        EXHIBIT 9
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                                                                                                                US00793 0539B2


 (12) United States Patent                                                                (10) Patent No.:                     US 7,930,539 B2
        Soltis, Jr. et al.                                                                (45) Date of Patent:                           *Apr. 19, 2011
 (54) COMPUTER SYSTEM RESOURCE ACCESS                                                       4,843,541 A            6, 1989 Bean et al.
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 (75) Inventors: Donald C. Soltis, Jr., Fort Collins, CO                                    5,253,255. A          10/1993 Carbine
                 (US); Rohit Bhatia, Fort Collins, CO                                       5,258,985 A           1 1/1993 Spence et al.
                 (US); Eric R. DeLano, Fort Collins, CO                                     5,319,760 A            6/1994 Mason et al.
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 (73) Assignee: Hewlett-Packard Development                                                 5,631,913 A            5, 1997 RE
                      Company, L.P., Houston, TX (US)                                       5,644,609 A            7/1997 Bockhaus et al.
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 (*) Notice:          Subject to any disclaimer, the term of this                                                    (Continued)
                      patent is extended or adjusted under 35
                      U.S.C. 154(b) by 1646 days.                                                    FOREIGN PATENT DOCUMENTS
                      This patent is Subject to a terminal dis-                      EP                 O965917 A1 12/1999
                      claimer.                                                                                 (Continued)
 (21) Appl. No.: 10/910,652                                                                                    OTHER PUBLICATIONS
           1-1.                                                                      Intel, Intel Itanium Processor Family System Abstraction Layer
 (22) Filed:          Aug. 3, 2004                                                   Specification Update, Jan. 2003, http://www.intel.com/design?
 (65)                    Prior Publication Data                                      itanium/downloads/25248902.pdf.
      US 2006/0031679 A1              Feb. 9, 2006                                                        (Continued)
 (51) Int. Cl.                                                                       Primary Examiner — Nasser Moazzami
         H04L 29/00               (2006.01)                                          Assistant Examiner — Fatoumata Traore
         G06F 2/14                (2006.01)
         G06F 7/30                (2006.01)                                          (57)                           ABSTRACT
 (52) U.S. Cl. ............ 713/167; 713/165; 713/166; 726/2:                        In a computer system including a plurality of resources, a
                                               726/22; 726/30                        device receives a request from a Software program to access a
 (58) Field of Classification Search .......... 713/150 152,                         specified one of the plurality of resources, determines
                                  713/164-167; 726/26-29, 34                         whether the specified one of the plurality of resources is a
         See application file for complete search history.                           protected resource. If the specified one of the plurality of
                                                                                     resources is a protected resource, the device denies the
 (56)                   References Cited                                             request if the computer system is operating in a protected
                                                                                     mode of operation, and processes the request based on access
                  U.S. PATENT DOCUMENTS                                              rights associated with the Software program if the computer
        4,192.451 A      3/1980 Swerling et al.                                      system is not operating in the protected mode of operation.
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                                                       START                                 -so
                                                                                            PROCESSEUS
                                               RECEWERESOURCE
                                                ACCESSREQUEST
                                                                                     512- USINGPRIWLEGE-3ASE
                                                                                            ACCESS CMTROL
                                                                                              MECHANISM

                                                                        58
                                                      ACCESS
                                                    RECUESTED      Ys        PRECTEYNC         Ntry current
                                                   To Protected               MODE           PRWILESELEWEL
                                                    RESURCES

                                                                                YS

                                                       OCESS                                   ENTFYSTO
                                                     CUSTUsing                                RWILGLEWELS
                                                    CONWENTIONAL               NY
                                                                             RECUS            WITHGTO
                                                   PRWEGE-BASE)                             ACCESS PROTECTE
                                                   ACCESSCOMTOL                                RESOURCES
                                                     TECHNICUES



                                                                                                 PWILG
                                                                                                  EWEN
                                                                                                   NTF




                                                                                                 REUEST
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  2003/0110205 A1        6, 2003 Johnson                                Office Action, dated Nov. 16, 2007, U.S. Appl. No. 10/910,630, 19
  2003/0233524 A1* 12/2003 Poisner ......................... T11 156    pageS.
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    APPLICATION LAYER

               VIRTUAL                            VIRTUAL
               MEMORY                             MEMORY                106
              APPLICATION                       APPLICATION
               PROGRAM                           PROGRAM

               SERVICE          SERVICE           SERVICE
    OPERATING SYSTEMLAYER
                               OPERATING         112                    104
                                SYSTEM

   HARDWARE LAYER
           PROCESSOR

               130
                                                  MEMORY       110a


     108        116                                                      O2

        120au CONTROLLER                          MEMORY        11 Ob
                118
                      BUS
       12Ob     CONTROLLER
                119
                                                  MEMORY       11 OC



      1241 125-1126         -127 V-128 S129


                                      F.G. 1
                                  (PRIOR ART)
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                                                      l? 200
          1 O6           APPLICATION LAYER



                     OPERATING SYSTEMLAYER




                                     HARDWARE INTERFACE           2O2
                                              LAYER

                                          PARTITION
                                       CONFIGURATION            208a.
                                        INFORMATION




   102a                      w                                 102b (0?
                                        PARTITION
       214                           CONFIGURATION
                                      INFORMATION
                       HARDWARE LAYER



                                 FIG. 2A
                             (PRIOR ART)
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             106             APPLICATION LAYER



                        OPERATING SYSTEMLAYER
             1 O4




                                          HARDWARE INTERFACE            2O2
                                                LAYER
                                                                        204a
                                               PARTITION
                                             CONFIGURATION           208a.
                                                 INFORMATION
                                                 PROTECTED
                                                 RESOURCES



      102a                                                       102b

                                             PARTITION
          214                             CONFIGURATION-208b. re
                                           INFORMATION


                                            PROTECTED
                                               MODE            2O6
                                             INDICATOR
                    UNPROTECTED             PROTECTED
                     RESOURCES              RESOURCES

                          HARDWARE LAYER


                                       FIG. 2B
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                                      START


        3O2                        RESET
                                 INTERRUPT



        3O4          IDENTIFY DEFAULT PROTECTED
                        MODE INDICATOR VALUE


                       WRITE DEFAULT VALUE TO
        3O6      m       CURRENT PROTECTED
                             MODE INDICATOR



        3O8                           LOAD
                                       OS


        31 O                         PERFORM               w
                                      BOOT


                                      START



                                      FIG. 3
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                                                                 USER         408




                                                             CONFIGURATION
                                                              MODIFICATION
                                                               COMMANDS


       OPERATING SYSTEM LAYER
                                       104
             OPERATING               112                     CONFIGURATION
              SYSTEM       s                                  INFORMATION

               RESET
             INTERRUPT          4O6



                         HARDWARE INTERFACE LAYER

            MANAGEMENT          CONFIGURATION                 CONFIGURATION
                                 MODIFICATION
              PROCESS             COMMANDS r USER INTERFACE

                                                 420
      102

                            HARDWARE LAYER

                     PROTECTED                  DEFAULT
                        MODE                   PROTECTED
                      INDICATOR              MODE INDICATOR

                            PROTECTED RESOURCES



                                      FIG. 4
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                                                           / 500

                                                            PROCESS REOUEST
    RECEIVE RESOURCE                                      USING PRIVILEGE-BASED
     ACCESS REQUEST                                         ACCESS CONTROL
                                                               MECHANISM


                                                                              514
         ACCESS
       RECQUESTED                 PROTECTED                 IDENTIFY CURRENT
      TO PROTECTED                                           PRIVILEGE LEVEL
       RESOURCES                    MODE




         PROCESS                                             IDENTIFY SET OF
      REOUESTUSING                   DENY                   PRIVLEGE LEVELS
      CONVENTIONAL                 REGUEST                    WITH RIGHT TO
     PREVILEGE-BASED                                       ACCESS PROTECTED
     ACCESS CONTROL                                            RESOURCES
       TECHNIOUES



                                                                 CURRENT
                                                                 PRIVILEGE
                                                                  LEVELN
                                                                 IDENTIFIED
                                                                    SET
                                                                      ?
                                                           DENY
                                                          REGUEST



                                                                    GRANT
                                                                  REGUEST




                                       F.G. 5
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                                       LOAD OS                  3O8



                            IDENTIFY DEFAULT PHYSICAL           702
                                 ADDRESS SPACE TO
                                  ALLOCATE TO OS


                                 MAP PROTECTED                  704
                              RESOURCES TO PORTION
                            OF DEFAULTADDRESS SPACE




                                      PROTECTED
                                        MODE
                                          p



         ALLOCATE NON-PROTECTED                        ALLOCATE DEFAULT
           PORTION OF ADDRESS                           ADDRESS SPACE
               SPACE TO OS                                  TO OS




                                      PERFORM                   31 O
                                        BOOT



                                        START



                                        FIG. 7
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                                                      US 7,930,539 B2
                                1.                                                                 2
       COMPUTER SYSTEMI RESOURCE ACCESS                            thereby granting to the program the set of access rights asso
                  CONTROL                                          ciated with the assigned privilege level.
                                                                      Consider a simple example of a computer system which
             CROSS REFERENCE TO RELATED                            has two privilege levels: (1) a most-privileged level (some
                        APPLICATIONS                               times referred to as the "kernel privilege level); and (2) a
                                                                   less-privileged level (sometimes referred to as the “applica
                                                                   tion program privilege level”). Programs executing at the
    This application is related to a concurrently-filed and com kernel privilege level may have the right to performall opera
 monly-owned U.S. patent application Ser. No. 10/910,630, tions on all resources, while programs executing at the appli
 filed on Aug. 3, 2004, entitled “Resource Protection in a 10 cation program privilege level typically have the right to
 Computer System with Direct Hardware Resource Access.” execute only instructions within a certain Subset of the pro
 which is hereby incorporated by reference.                        cessors instruction set and to access only a Subset of the
                                                                   computer's memory. In such a system, the operating system
                        BACKGROUND                                 typically is assigned the kernel privilege level, while applica
                                                                   tion programs typically are assigned the application program
                                                                15 privilege level. The use of privilege levels makes it possible to
    1. Field of the Invention
    The present invention relates to computer architecture and, assign
                                                                   program
                                                                          and identify the access rights granted to a particular
                                                                             by reference to the program's privilege level, with
 more particularly, to techniques for controlling access to out the need         to assign and identify individual access rights on
 resources in a computer system.                                   a program-by-program      basis. The use of privilege levels is
    2. Related Art                                                 described in more detail in the commonly-owned patent
    Computers include a variety of resources, including application entitled “Method and System for Privilege-Level
 memory (e.g., ROM and RAM), processor registers, and Access to Memory Within a Computer.” Pub. No. U.S. 2003/
 input/output devices. In early computer architectures, any 0084256A1, published on May 1, 2003, hereby incorporated
 program executing on a computer could access any resource by reference.
 without limitation. For example, any program, whether it be 25 There may be any number of privilege levels in a computer
 an operating system, device driver, or application program,       system. Typically, privilege levels are numbered sequentially
 could read and write values to any memory location. beginning     which   there
                                                                                with Zero. Consider, for example, a system in
                                                                                  are four privilege levels, numbered from Zero
 Although Such computer architectures had the advantage of
 being relatively simple to design and implement, they had the through      three. Privilege level Zero typically is the most-privi
 disadvantage that a poorly-designed or malicious program 30 leged Zero.
                                                                         level. The operating system typically has privilege level
                                                                         Intermediate   privilege levels (such as privilege levels 1
 could cause the computer to malfunction by modifying a and 2) may be granted
 resource in an inappropriate way. For example, an application programs which requiretoa relatively
                                                                                                device drivers and other software
                                                                                                           high degree of access to
 program could inadvertently or maliciously modify data a subset of the computer's resources. The least-privileged
 relied upon by the operating system and thereby cause the level (e.g., privilege level 3) typically is assigned to applica
 operating system to malfunction or crash. As another 35 tion programs.
 example, a first application program could overwrite data in         Computer systems which implement resource access con
 use by a second application program, thereby causing the trol rights, such as through the use of privilege levels, thereby
 second application program to malfunction or crash.               prevent programs from accessing resources in ways which
    One technique that has been employed to address this might cause the system to malfunction. As computer archi
 problem is to provide each Software program executing on a 40 tectures continue to evolve, however, the techniques
 computer with a particular set of resource access rights (also described above may be insufficient to provide the necessary
 referred to as “privileges'). A particular application program kind and degree of resource access control for all resources in
 may, for example, have the right to access a particular Subset a computer system. What is needed, therefore, are improved
 of main memory and a particular set of I/O devices. Another techniques         for controlling access to resources in a computer
 application program may have the right to access a different 45 system.
 subset of main memory and a different set of I/O devices. The                               SUMMARY
 operating system typically has the right to access all
   SOUCS.
                                                                      In a computer system including a plurality of resources,
    A resource access control mechanism, which may be techniques are disclosed for receiving a request from a soft
 implemented in hardware and/or software, is provided for 50 ware program to access a specified one of the plurality of
 enforcing these access rights. When a particular program resources, determining whether the specified one of the plu
 requests that a particular operation be performed on a particu rality of resources is a protected resource, and, if the specified
 lar resource, the access control mechanism determines             one of the plurality of resources is a protected resource, for
 whether the program has the right to perform the requested denying the request if the computer system is operating in a
 operation on the specified resource. If the program does have 55 protected mode of operation, and processing the request
 Such a right, the access control mechanism allows the based on access rights associated with the Software program
 requested operation to proceed. Otherwise, the access control if the computer system is not operating in the protected mode
 mechanism denies the request and typically generates a fault. of operation.
    In a particular computer system, there may be a large             Other features and advantages of various aspects and
 number of resources and a large variety of access rights that 60 embodiments of the present invention will become apparent
 can be associated with each resource (such as the right to read from the following description and from the claims.
  from the resource, write to the resource, and execute software
  on the resource). Instead of allowing each program to be             BRIEF DESCRIPTION OF THE DRAWINGS
  assigned an individually-configurable set of access rights,
  most systems define a set of “privilege levels, each of which 65 FIG. 1 is a block diagram of a prior art computer system
  is associated with a particular set of access rights. Each pro including a hardware layer, an operating system layer, and an
  gram is then assigned one of the predefined privilege levels, application layer,
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                                 3                                                                4
    FIG. 2A is a block diagram of a prior art computer system memory components 110a-c. The processor 108 contains
 including a hardware layer, a hardware interface layer, an internal memory storage components referred to as registers
 operating system layer, and an application layer;                  130 that can be accessed much more quickly than the memory
    FIG.2B is a block diagram of a computer system including components 110a-c. The processor 108 reads and writes data
 protected resources according to one embodiment of the and instructions from and to the memory components 110a-c
 present invention;                                                 via internal buses 116 and 117 and the bus controller 120a.
    FIG. 3 is a flowchart of a method that is performed in one Far greater data storage capacity resides in peripheral data
 embodiment of the present invention to set the value of a storage devices such as disk drives, CD-ROM drives, DVD
 protected mode indicator according to one embodiment of the drives, and other Such components that are accessed by the
 present invention;                                              10 processor 108 via internal buses 116, 118, and 119, bus con
    FIG. 4 is a dataflow diagram illustrating the actions per trollers 120a-b, and one or more of the peripheral device
 formed by the hardware interface layer of FIG.2B to perform interconnect cards 124-129. For example, the stored instruc
 the method of FIG. 3 according to one embodiment of the tions of a large program may reside on a disk drive for
 present invention;                                                 retrieval and storage in memory components 110a-c on an
    FIG. 5 is a flowchart of a method for processing resource 15 as-needed basis during execution of the program. More
 access requests according to one embodiment of the present Sophisticated computers may include multiple processors
 invention;                                                         with correspondingly more complex internal bus intercon
    FIG. 6 is a block diagram illustrating the actions performed nections and additional components.
 by the hardware interface layer of FIG. 2B to perform the             The operating system layer 104 is a logical layer which
 method of FIG.5 according to one embodiment of the present includes a software program 112 referred to as an operating
 invention; and                                                     system, which is capable of controlling the hardware compo
    FIG. 7 is a flowchart of a method that is performed by the nents in the hardware layer 102. Modern operating systems
 hardware interface layer of FIG. 2B upon bootup to map are relatively large and complex, typically consisting of a
 protected resources to a portion of an address space according large number of Sub-programs executing concurrently. At its
 to one embodiment of the present invention.                     25 core, however, the operating system 112 includes program
                                                                    code which may be utilized by application programs to cause
                  DETAILED DESCRIPTION                              the hardware components in the hardware layer 102 to per
                                                                    form functions such as reading from and writing to memory
    Techniques are disclosed for controlling access to pro and peripheral devices.
 tected resources in a computer system. The computer system 30 The application programming layer 106 includes one or
 may include a plurality of resources, which includes both the more application programs. Two application programs
 protected resources and non-protected resources. The com 134a–b illustrated in FIG. 1 for ease of illustration and expla
 puter system may recognize a plurality of privilege levels, nation. The operating system 112 allocates virtual memory
 Such as a most-privileged level and a less-privileged level. regions 136a-b to application programs 134a-b, respectively.
 Furthermore, the computer system may operate in a protected 35 Note that the virtual memory regions 136a-b are not addi
 mode, in which all software programs (including Software tional regions of physical memory, but rather are logical
 programs having the most-privileged privilege level) are regions which are mapped to memory locations in the
 denied access to the protected resources, or a non-protected memory components 110a-c. Requests by the application
 mode, in which Software programs with an appropriate privi programs 134a–b to access the corresponding virtual memory
 lege level may access the protected resources. In one embodi 40 regions 136a-b are passed through the operating system 112,
 ment, particular programs may be denied access to the pro which performs the requested read/write operation on the
 tected resources by mapping the protected resources to appropriate location(s) in the memory components 110a-c. In
 addresses outside of the address spaces allocated to the par addition, the operating system 112 denies any request by the
 ticular programs.                                                  application programs 134a–b to access memory addresses
    Referring to FIG. 1, a block diagram is shown of a prior art 45 outside of their respective virtual memory regions 136a-b,
 computer system 100. The computer system 100 includes a thereby providing a degree of resource access control.
 hardware layer 102, an operating system layer 104, and an             One way in which the application programs 134a–b may be
 application program layer 106. The operating system and restricted to accessing memory in the corresponding virtual
 application programs in the computer system 100 execute on memory regions 136a-b is by using the privilege-based
 hardware in the hardware layer 102. The “layers' 104 and 106 50 access control techniques described above. For example, a
 illustrated in FIG. 1 do not, therefore, represent physical most-privileged privilege level may be assigned to the oper
 layers of components which are physically layered on top of ating system 112, while a less-privileged privilege level may
 the hardware layer 102. Rather, the computer system 100 is be assigned to both of the application programs 134a-b. The
 illustrated as consisting of layers 102,104, and 106 as an aid operating system 112, due to its most-privileged status, may
 to explaining the interactions among hardware and Software 55 access any memory location in the memory components
 in the computer system 100. In particular, it is common to 110a-c. The application programs 134a-b, in contrast, due to
 conceptualize and illustrate computer systems in terms of their less-privileged status, may be denied the ability to
 Such layers to highlight the dependence of elements at a execute processor instructions which directly access the
 higher layer on elements at lower layers, and to illustrate the memory storage components 110a-c. The application pro
 flow of control and data among layers.                          60 grams 134a–b may, therefore, only access memory compo
    The hardware layer 102 comprises the physical compo nents 110a-c indirectly through the operating system 112,
 nents of the computer system 100. Such physical components which may refuse to process requests by the application pro
 may include, for example, a processor 108, memory storage grams 134a–b to access memory locations outside of their
 components 110a-c, internal buses and signal lines 116-119, respective virtual memory regions 136a-b. Typically, an oper
 bus controllers 120a-b, and various peripheral interface cards 65 ating system indicates in hardware the access rights of the
 124-129. The processor 108 is an instruction-execution virtual memory sections, thereby allowing the hardware to
 device that executes a stream of instructions obtained from        grant or refuse access to privileged resources.
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                                 5                                                                  6
    The application layer 106 may include a variety of services operating system 112 may then perform the desired system
 138a-c, provided by the operating system 112, through which management functions, after which the hardware layer 102
 the application programs 134a–b may communicate with the may restore the current privilege level to the privilege level of
 operating system 112. Such services 138a-c may, for the application program. In this way the operating system 112
 example, enable the application programs 134a–b to perform may perform operations with full access to all system
 operations such as writing data to and retrieving data from resources, while the applications programs 134a–b are pro
 external devices, or accessing system information (Such as an vided with limited access to system resources.
 internal clock or system configuration information).                   Although the computer system illustrated in FIG. 1
    Although in the description above multiple programs are includes three layers 102, 104, and 106, some modern com
 described as executing concurrently, in a single-processor 10 puter architectures include additional layers. Referring to
 computer system such as the system 100 illustrated in FIG. 1,       FIG. 2A, for example, a computer system 200 is shown which
 only one process executes on the processor 108 at a time. includes hardware layer 102, operating system layer, appli
 Concurrent program execution may be simulated by causing cation layer 106, and a hardware interface layer 202 inter
 the processor 108 to alternate between executing instructions posed between the hardware layer 102 and the operating
 from the first program 134a and the second program 134b. 15 system layer 104. The hardware interface layer 202, as its
 The operating system 104 typically manages such “multi name Suggests, acts as an interface between the operating
 threading by retrieving a subset of instructions from the first system layer 104 and the hardware layer 102. The hardware
 program 134a, executing those instructions on the processor interface layer 202 may include hardware, software, firm
 108, retrieving a subset of instructions from the second pro ware, or any combination thereof.
 gram 134b, executing those instructions on the processor 108,          One purpose of the hardware interface layer 202 may be to
 and so on. Various techniques are well-known to those having provide a single abstract interface through which the operat
 ordinary skill in the art for implementing operating systems ing system layer 104 may communicate with the processor
 which manage Such multithreading in efficient ways.                 108 and other components in the hardware layer 102, regard
    It is important in Such systems that the privilege level less of the particular manner in which Such components are
 associated with each program be enforced while instructions 25 implemented. The hardware interface layer 202 thereby
 from that program are executing on the processor 108. In enables the processor 108 and other hardware components to
 Some systems such enforcement is performed by including a be implemented in a variety of ways without modifying the
 processor status register in the register file 130. The processor operating system layer 104 or the application layer 106. As a
 status register includes one or more bits which specify the result, designers of the components in the hardware layer 102
 privilege level of the currently-executing program. Such bits 30 have greater flexibility and designers of the operating system
 are referred to herein as “current privilege level” (CPL) bits.     112 and application programs 134a–b need not take imple
 In a system which recognizes two privilege levels, for mentation details of the hardware layer 102 into account
 example, a single CPL bit may be used, in which a value of when designing the operating system 112 and application
 Zero represents a most-privileged level and a value of one programs 134a-b. As a result, the time and cost required to
 represents a less-privileged level.                              35 develop the operating system 112, the application programs
    In Such systems, the hardware layer 102 controls access to       134a–b, and the hardware components in the hardware layer
 the CPL bits. For less-privileged code to perform a more            102 may be reduced.
 privileged operation, the less-privileged code (such as code in        The Intel(R) Itanium(R Architecture, for example, defines a
 the application programs 134a–b) must trigger a fault or trap Processor Abstraction Layer (PAL) and a System Abstraction
 through the hardware layer 102 to the operating system layer 40 Layer (SAL). In one embodiment of the present invention, the
 104. In response, the hardware layer 102 sets the value of the hardware interface layer 202 includes a PAL and a SAL. The
 CPL bits to indicate the more-privileged privilege level, and PAL is defined in Volume 2, Chapter 11 of the “Intel(R) Ita
 transfers control to more-privileged code to perform some nium(R Architecture Software Developer's Manual. Revi
 operation on behalf of the less-privileged code. It should be sion 2.1 (October 2002), hereby incorporated by reference.
 appreciated from this description that software programs, 45 The SAL is defined in the "Itanium(R) Processor Family Sys
 Such as the operating system 112, which have the most tem Abstraction Layer Specification” (November 2002) and
 privileged privilege level, may perform operations requiring the corresponding “Intel(R) Itanium(R) Processor Family Sys
 any privilege level (including the most-privileged level) on tem Abstraction Layer Specification Update' (January 2003),
 behalf of less-privileged code. The more-privileged code may both of which are hereby incorporated by reference.
 then execute a return-from-interruption instruction, which 50 In general, the PAL provides an abstract interface (imple
 restores the less-privileged value of the CPL bits before mented in firmware) between Software programs (such as the
 returning control to the less-privileged code.                      operating system 112 and application programs 134a–b) and
    Consider, for example, the execution of instructions in one the processor 108, so as to maintain a single software inter
 of the application programs 134a–b by the operating system face for multiple implementations of the processor 108. The
 112. Before executing instructions from one of the applica 55 PAL encapsulates those processor functions that are likely to
 tion programs 134a–b, the operating system 112 may set the be implemented in different ways in different processor
 value of the CPL bit to one (using a hardware trap/fault), implementations, so that the operating system 112 can main
 representing the less-privileged (application program) privi tain a consistent view of the processor 108. These functions
 lege level. The operating system 112 may then initiate execu include non-performance critical functions such as processor
 tion of the application program instructions, which will 60 initialization, configuration, and error handling. The PAL
 execute with the resource-access restrictions associated with       consists of two main components. The first is a set of inter
 the application program privilege level. Prior to executing ruption entry points, which are invoked directly by hardware
 system management operations (such as operations which events such as reset, init, and machine checks. These inter
 manipulate the contents of control registers and operating ruption entry points perform functions such as processor ini
 specific data structures), the operating system 112 may use a 65 tialization and error recovery. The second PAL component is
 hardware fault or trap to set the value of the CPL bit to zero, a set of procedures, which may be called by higher-level
 representing the most-privileged (kernel) privilege level. The firmware (such as the SAL, described below) and software:
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 (1) to obtain information about the identification, configura going through the hardware interface layer 202. Translation
 tion, and capabilities of the processor 108; (2) to perform lookaside buffer (TLBs) 214 are one example of resources in
 implementation-dependent functions such as cache initializa the hardware layer 102 which may be accessed by the oper
 tion; and (3) to allow software (e.g., the operating system 112 ating system 104 without going through the hardware inter
 and application programs 134a–b) to interact with the hard face layer 202.
 ware layer 102 through Such functions as power management             The partition configuration information 208a-b and other
 and enabling/disabling of processor features.                      information maintained by the hardware layer 102 and the
    The SAL performs functions similar to those performed by hardware interface layer 202 may be stored, for example, in
 the PAL, except that the SAL provides a firmware interface to registers, on-board memory, or in portions of the main
 the platform of the computer system 220. The term “plat 10 memory 110a-c. It may be desirable for such information
 form' refers to components in the hardware layer 102 includ 204a–b to be accessible to the hardware layer 102 and to the
 ing the processor 108, buses 116-119, and memory 110a-c. hardware interface layer 202, but not to the operating system
 The SAL does not interact directly with the processor 108, but 112 or to the application programs 134a-b. Recall, however,
 rather, like the operating system 112, interacts with the pro that the operating system 112 typically has the most-privi
 cessor 108 through the PAL.                                     15 leged privilege level, according to which the operating system
    Another function that may be performed by the hardware 112 has access to all system resources. If some or all of the
 interface layer 202 is the establishment and maintenance of partition configuration information 208a-b, however, is
 multiple “partitions' in a partitionable computer system. The stored in memory components 110a-c or another resource
 term “partitionable computer system” refers to a computer accessible to the operating system 112, the operating system
 system which may be logically subdivided into multiple “par        112 would be able to modify such information 208a-b if the
 titions, each of which is allocated a portion of the computers techniques disclosed above were employed. Examples of
 resources. For example, each partition may be allocated a techniques will now be described for protecting resources,
 particular processor and portion of main memory. Further Such as the partition configuration information 208a-b.
 more, each partition may execute its own operating system against being accessed even by Software programs having the
 and Software applications, and otherwise act similarly to an 25 most-privileged privilege level.
 independent physical computer. A single partitionable com             Referring to FIG. 2B, a diagram is shown of a computer
 puter system may, therefore, provide the same functionality system 220 according to one embodiment of the present
 as a plurality of distinct physical computers.                     invention. The computer system 220, like the computer sys
    The hardware interface layer 202 may allocate resources to tem 200 shown in FIG. 2A, includes hardware layer 102.
 partitions and ensure that Software programs are only able to 30 hardware interface layer 202, operating system layer 104, and
 access resources within their own partitions. Ideally, conven application layer 106. The system 220 also includes protected
 tional operating systems and application programs which are resources 204a-b. In particular, the hardware interface layer
 designed to execute in non-partitioned computer systems 202 of computer system 220 includes protected resources
 may also execute without modification in a partition of a 204a, while the hardware layer 102 of computer system 220
 partitionable computer system. The hardware interface layer 35 includes protected resources 204b. In the embodiment illus
 202 may intercept all resource access requests issued by the trated in FIG. 2B, the protected resources 204a and 204b
 operating system in a particular partition, identify the include partition configuration information 208a and 208b.
 resource (e.g., memory location) addressed by the request, respectively. In addition, the protected resources 204b
 satisfy the request using the allocated resource, and return the include a protected mode indicator 206. As will be described
 results to the operating system.                                40 in more detail below, the computer system 220 may operate in
    To perform such partition management, and resource man a protected mode in which Software in the operating system
 agement more generally, the system 200 may include parti layer 104 and application layer 106 is prevented from access
 tion configuration information 208a-b. Such information ing the protected resources 204a–b, even if the software has
 208a-b may include, for example, a table which specifies the the most-privileged privilege level.
 resources (e.g., processors, memory, I/O ports) which are 45 The protected mode indicator 206 indicates whether the
 allocated to each partition. The hardware interface layer 202 computer system 220 is to operate in protected mode. The
 may access Such information 208a-b when processing protected mode indicator 206 may, for example, be imple
 resource access requests issued by the operating system layer mented in one or more bits in a register (such as the processor
 104.                                                               status register (PSR)) in the hardware interface layer 202.
    Note that in the particular system 200 illustrated in FIG. 50 Assume for purposes of the following discussion that the
 2A, a first portion 208a of the partition configuration infor protected mode indicator 206 is a one-bit value PM, that when
 mation is contained in the hardware interface layer 202, while PM-0 the computer system 220 operates in non-protected
 a second portion 208b of the partition configuration informa mode, and that when PM=1 the computer system 220 oper
 tion is contained in the hardware layer 102. Note further that ates in protected mode. When the computer system 220 oper
 in the system 200 illustrated in FIG. 2A, the operating system 55 ates in non-protected mode, Software (e.g., the operating sys
 layer 104 may only access the partition configuration infor tem 112) having the most-privileged privilege level is given
 mation 208a-b through the hardware interface layer 202. The unrestricted access to all resources, including the protected
 hardware interface layer 202 may, for example, verify that the resources 204a-b.
 operating system layer 104 has a sufficiently high privilege          When the computer system 220 operates in protected
 level to access the partition configuration information 208a-b. 60 mode, access to protected resources 204a–b by all software at
    The hardware layer 102 is illustrated in FIG. 2A as com all privilege levels is denied. In one embodiment of the
 prising two portions 102a-b. As just described, the operating present invention, the value of the protected mode indicator
 system layer 104 may only access resources in portion 102b 206 may only be modified by a hardware fault initiated by the
 (such as the partition configuration information 208b) hardware interface layer 202 (e.g., the PAL). Neither the
 through the hardware interface layer 202. The operating sys 65 operating system 112 nor any other software program may
 tem layer 104 may, however, access resources in the other modify the value of the protected mode indicator 206, regard
 portion 102a of the hardware layer 102 directly, i.e., without less of the privilege level of the Software program. This guar
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 antees that only the hardware interface layer 202 (e.g., the     (step 306). The operating  system 112 is loaded from a persis
 PAL) can obtain and grant access to the protected resources tent storage medium, Such as a hard disk drive, into the
 204a-b. The value of the protected mode indicator 206 may be operating system layer 104 (step 308). Step 308 may, for
 restored to its previous value (e.g., 1) upon a return from Such example, be performed by a loader (not shown) in the oper
 a hardware fault.                                                ating system layer 104. The method 300 boots the computer
    Referring to FIG. 3, a flowchart is shown of a method 300 system 220 with the loaded operating system 112 (step 310).
 that is performed by the hardware interface layer 202 and the Techniques for performing steps 308 and 310 are well-known
 hardware layer 102 to set the value of the protected mode to those of ordinary skill in the art. Upon completion of the
 indicator 206 according to one embodiment of the present boot process, the operating system 112 (and any other pro
 invention. Referring to FIG. 4, a dataflow diagram is shown 10 grams having the most-privileged privilege level) are granted
 illustrating the actions performed by the hardware interface or denied access to the protected resources 204 (FIG. 2B) in
 layer 202 and the hardware layer 102 to execute the method accordance with the value of the protected mode indicator
 300 according to one embodiment of the present invention.        206, as will now be described in more detail.
    The method 300 may, for example, be performed by a               Referring to FIG. 5, a flowchart is shown of a method 500
 management process 404 executing in the hardware interface 15 that may be performed to process resource access requests
 layer 202. The management process 404 may, for example, be according to one embodiment of the present invention. Refer
 a part of the SAL which is authorized by the hardware layer ring to FIG. 6, a block diagram is shown which illustrates the
 102 to access the protected resources 204a-b. Although only performance of the method 500 by components in the hard
 the single hardware interface layer 202 is shown in FIGS. 2B ware layer 102.
 and 4, the hardware interface layer 202 may be further sub          The method 500 receives a request 602 to access a resource
 divided into additional layers, such as a PAL and a SAL, in in the hardware layer 102, such as one of the unprotected
 which case the management process 404 may reside in the resources 212 or one of the unprotected resources 204b (step
 SAL and make requests to the PAL for access to the protected 502). In the embodiment illustrated in FIG. 6, the hardware
 resources 204.                                                   layer 102 includes a hardware resource access control mecha
    The method 300 is triggered by a reset interrupt 406 which 25 nism 614 which controls access to the unprotected resources
 may, for example, be generated by the operating system 112 212 and to the protected resources 204b. The hardware
 upon system startup (step 302). The reset method 300 may be resource access control mechanism 614 includes a protected
 implemented as an interrupt service routine having a known resource access control mechanism 612, which controls
 entry point in the hardware interface layer 202. The reset access to the protected resources 204b, and a privilege-based
 interrupt 406 may, for example, be generated to perform a 30 access control mechanism 610, which controls access to the
 cold boot, warm boot, or other kind of reset of the computer unprotected resources 212.
 system 220. The method 300 may also be performed, for               The hardware resource access control mechanism 614
 example, after unloading the operating system currently may, for example, receive the request 602 from the operating
 executing on the computer system 220.                            system 112 or from one of the applications 134a–b executing
    The hardware layer 202 includes default protected mode 35 in the application layer 106. The method 500 determines
 indicator 418 which stores a default value for the protected whether the access request 602 requests access to any of the
 mode indicator 206. The defaulted protected mode indicator protected resources 204b (step 504). Examples of techniques
 418 may be stored in a persistent or semi-persistent storage that may be used to perform step 504 will be described in
  medium such as CMOS or flash RAM. The value of the                more detail below.
 default protected mode indicator 418 may initially be set at 40 If the request 602 does not request access to any of the
 the time of manufacture. The management process 404 may protected resources 204, the method 500 processes the
 also allow the user 408 to modify the value of the default request 602 using conventional privilege-based access con
 protected mode indicator 418 during and/or after the reset trol techniques (step 506). Step 506 may, for example, be
 process. Upon powering up the computer system 220, for performed by the privilege-based access control mechanism
 example, the management process 404 may present the user 45 610. Note that the privilege-based access control mechanism
 408 with a configuration user interface (UI) 416 which dis 610 may have internal access to the protected resources 204b
 plays the current value of configuration information Such as and make use of Such resources, such as the current privilege
 the default protected mode indicator 418. The user 408 may level 608, to determine whether to grant the requesting pro
 provide configuration modification commands 420 to the gram access to the requested resource.
 management process 404 through the configuration UI 416, 50 Requests to access unprotected resources 212 may thereby
 thereby instructing the management process 404 to modify be processed in the same manner as in a conventional system
 the value of the default protected mode indicator 418. The which uses privilege-based resource access controls.
 default protected mode indicator 418 may retain this value Although the method 500 illustrated in FIG. 5 uses access
 until next modified by the user 408.                             controls based on privilege levels, this is not a requirement of
    Returning to FIG. 3, the method 300 identifies the default 55 the present invention. Rather, requests to access unprotected
 value of the protected mode indicator 206 (step 304). The resources 212 may be handled in any manner.
 management process 404 may identify this value by reading           If the access request 602 requests access to any of the
 it from the default protected mode indicator 418. Alterna protected resources 204b, the method 500 determines
 tively, the value of the default protected mode indicator 418 whether the computer system 220 is operating in protected
 may be hard-coded into the management process 404. For 60 mode (step 508). The protected resource access control
 example, the management process 404 may be hard-coded mechanism 612 may, for example, perform step 508 by read
 with a default protected mode indicator value of Zero, in ing the value of the protected mode indicator 206. If the
 which case the management process 404 may identify a value computer system 220 is operating in protected mode, the
 of Zero in step 304 without the need for the separate default method 500 denies the access request 602 (step 510). The
 protected mode indicator 418.                                 65 protected resource access control mechanism 612 may, for
    The management process 404 writes the identified default example, perform step 510 by transmitting an access denial
 protected mode value to the protected mode indicator 206         604 to the operating system 112 or by signaling a fault.
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 Therefore, all programs—including programs having the access the protected resources 204 using the same (conven
 most-privileged privilege level—are denied access to the pro tional) procedures that it uses to handle requests to access
 tected resources 204b when the computer system 220 is oper non-protected resources. In such a scheme, step 512 may be
 ating in protected mode.                                           implemented in the same manner as step 506.
    If the computer system 220 is not operating in protected          Note that for ease of explanation the embodiment illus
 mode, the method 500 processes the request 602 using the trated in FIG. 6 employs a single protected mode indicator
 privilege-based access control mechanism 610 (step 512). As 206 which indicates whether the computer system 220 is
 will now be described in more detail, the privilege-based operating in protected mode. In Such a system, all requests to
 access control mechanism 610 may grant or deny the request access the protected resources 204b are denied when the
 602 based on the privilege level of the requesting program. 10 system 220 is operating in protected mode; even if Such
    The access control mechanism 610 identifies the value of        requests are made by the hardware interface layer 202.
 the current privilege level 608 (step 514), and identifies the set   Alternatively, when a resource access request is made by a
 of privilege levels which have the right to access the protected Software program (such as the operating system 112), the
 resources 204 (step 516). A particular subset of privilege current state of the protected mode indicator 206 may be
 levels may, for example, be predefined as having the right to 15 saved in a temporary register. The value of the protected mode
 access the protected resources 204b. In one embodiment of indicator 206 may then be set to the “disabled' value, so that
 the present invention, only programs having the most-privi the component handling the request (e.g., the hardware inter
 leged privilege level (e.g., privilege level Zero) have the right face layer 202 or hardware layer 102) may access the pro
 to access the protected resources 204b. Any privilege level or tected resources 204 without restriction. Once the resource
 combination of privilege levels may, however, be defined as access request has been handled, the previous value of the
 having access to the protected resources 204b.                     protected mode indicator 206 may be restored from the tem
    The access control mechanism 610 determines whether the         porary register before returning control to the operating sys
 current privilege level 608 is in the identified set of privilege tem 112 or other requesting process.
 levels having the right to access the protected resources 204b       Although the embodiment illustrated in FIG. 6 involves a
 (step 518). If the current privilege level 608 is not in the 25 request made by the operating system 112 directly to the
 identified set of privilege levels having the right to access the hardware layer 102 to access protected resources 204b in the
 protected resources 204b, the access control mechanism 610 hardware layer 102, similar techniques may be applied to
 denies the access request 602 (step 520). The access control handle a request by the operating system 112 to access the
 mechanism 610 may, for example, transmit a response 606 to protected resources 204b indirectly through the hardware
 the operating system 112 indicating that the request 602 has 30 interface layer 202, or to access the protected resources 204a
 been denied. If the current privilege level 608 is in the iden in the hardware interface layer 202 itself. In any of these
 tified set of privilege levels having the right to access the cases, the techniques described above with respect to FIG. 5
 protected resources 204b, the access control mechanism 610 may be applied to grant or deny the operating systems
 grants the request 602 (step 522), such as by performing the request to access the protected resources 204.
 requested operation on the specified resource and returning 35 Recall that the method 500 shown in FIG.5 determines (in
 any appropriate results to the operating system 112 (or other step 504) whether the resource access request 602 (FIG. 6)
 requesting program) in the response 606. The response 606 requests access to any of the protected resources 204. This
 may, for example, include data read from the protected determination may be made in any of a variety of ways. The
 resources 204.                                                     protected resources 204 may, for example, include one or
    One effect of the method 500 is to deny all software pro 40 more machine-specific registers (MSRs) in the hardware
 grams access to the protected resources 204b when the com layer 102. An MSR is a kind of register that is commonly used
 puter system 220 is operating in protected mode, and to grant in computer systems having multiple processors and/or pro
 access only to Software programs having appropriate privi cessors having multiple processor cores. In such systems, an
 lege levels (such as the most-privileged level) when the com MSR may be shared (available for use) by all processors, by
 puter system 220 is operating in non-protected mode. In other 45 all processor cores on a single chip, or by a particular proces
 words, access to the protected resources 204b is denied even sor or processor core. MSRs, therefore, unlike conventional
 to programs having the most-privileged access level when the processor registers, may control information that is either
 computer system 220 is operating in protected mode.                shared or not shared among processors and/or processor
    Although the access control mechanism 610 is described cores. A set of MSRs may be predefined as protected
 above as using conventional techniques to handle the access 50 resources, in which case the techniques disclosed herein may
 request 602 only when the computer system 220 is operating be used to control access to such MSRs. The set of protected
 in non-protected mode, this is not a requirement of the present MSRs may be defined by the hardware layer 102 and/or the
 invention. Rather, the privilege-based access control mecha hardware interface layer 202. If the access request 602
 nism 610 may process requests to access protected and non requests access to an MSR, the management process 404 may
 protected resources in the same way. For example, the access 55 perform step 504 by determining whether the above-men
 control mechanism 610 may define rights to access the pro tioned table indicates that the requested MSR is one of the
 tected resources 204 in the same manner as it defines rights to protected resources 204.
 access non-protected resources. The access control mecha             In another embodiment of the present invention, the pro
 nism 610 may, for example, define a “read protected tected resources 204 are implemented by mapping the pro
 resource' right and a “write protected resource right. The 60 tected resources 204 to a range of addresses which are outside
 access control mechanism 610 may associate such rights with of the range of addresses allocated to the operating system
 each existing privilege level. For example, the most-privi 112 (and outside of the range of addresses allocated to any
 leged privilege level may be granted the right to read and write other operating system in the computer system 220 from
 from the protected resources 204b, while all other privilege which the protected resources 204 are to be protected). More
 levels may be denied the right to read and write from the 65 specifically, techniques are well-known for allocating a par
 protected resources 204. Once such rights have been defined, ticular address space to the operating system 112 upon bootup
 the access control mechanism 610 may handle requests to of the computer system 220. The computer system 220 may,
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 for example, be a multi-partition computer system, in which spaces to partitions. For example, configuration registers in
 case the operating system 112 may be one of a plurality of the partition configuration information 208 may define the
 operating systems, each of which executes in a distinct par default physical address spaces to be allocated to partitions in
 tition in the computer system 220. Associated with each par the computer system 220.
 tition may be an address space (referred to as a “physical 5 The management process 404 maps the protected
 address space') through which the operating system 112 and resources 204 to a portion of the identified default physical
 other components in the partition may access the resources address space (step 704). For example, in the case of a 49-bit
 (such as memory locations and MSRs) that are allocated to physical address space with bits numbered from 0 (LSB)
 the partition.                                                    through 48 (MSB), the management process 404 may map the
    For example, the computer system 220 may include one or 10 protected resources 204 to addresses in which the most sig
 more memory controllers which allow the memory locations nificant bit (e.g., bit 48) is set. Alternatively, the management
 in the multiple memory components 110a-c to be addressed process 404 may append an additional bit (e.g., bit 49) to the
 using a single contiguous address space (referred to herein as default address space and map the protected resources 204 to
 a “system address space”), as if the memory components addresses having the additional bit set.
 110a-C were a single memory component. Assume for pur 15 The management process 404 determines whether the
 poses of example in the following discussion that the system computer system 220 is to boot in protected mode (step 706).
 address space of the computer system 220 is fully addressable The management process 404 may, for example, perform step
 using 50-bit addresses.                                           706 by reference to the protected mode indicator value iden
    Further assume that the computer system 220 includes two tified in step 304 (FIG.3).
 partitions, each with its own operating system. If the 50-bit       If the computer system 220 is not to be booted in protected
 system address space were divided evenly between the two mode, the management process 404 allocates the default
 partitions, each partition would be allocated a 49-bit address physical address space to the operating system 112 (step 708).
 space. Each Such address space may be viewed as a 50-bit If the computer system 220 is to be booted in protected mode,
 address space in which the high bit is clear. In Such an the management process 404 allocates the non-protected por
 example, the protected resources 204 may be mapped to 25 tion of the default physical address space to the operating
 50-bit addresses in which the high bit (e.g., bit 50) is set.     system 112 (step 710). The “non-protected portion” refers to
 Techniques are well-known, for example, for enabling I/O that portion of the default physical address space which does
 devices to be addressed using memory addresses using not include addresses to which the protected resources 204
 “memory-mapped I/O. Any other kind of computer resource are mapped. In the embodiment described above, for
 may similarly be addressable through memory addresses in 30 example, in which the default physical address space is a
 the physical address space allocated to a particular operating 49-bit address space, the protected resources 204 may be
 system.                                                           mapped to addresses in which the most-significant bit (e.g.,
    To prevent the protected resources 204 from being bit 49) is set (equal to 1), i.e. the upper half of a 50-bit address
 accessed by the operating system 112 (or by any other oper space. In that case, the “non-protected portion of the default
 ating system or process in the computer system 220), the 35 address space would be a 49-bit address space in which the
 management process 404 may inform (after step 308 in FIG. most-significant bit is cleared (equal to 0), i.e. the lower half
 3) each partition (and associated operating system) that it is of a 50 bit address space. The management process 404 may
 allocated a 49-bit physical address space. After bootup, each allocate Such an address space to the operating system 112 by
 operating system may access memory using addresses in its informing the operating system 112 that its physical address
 49-bit physical address space. Techniques are well-known for 40 space is 48 bits wide, thereby excluding (protected) addresses
 using the hardware interface layer 202 to translate such 49-bit in which the 49" bit is set.
 addresses into 50-bit system addresses which may be used to         After allocating a physical address space to the operating
 access the appropriate memory locations in the memory com system 112, the management process 404 boots the computer
 ponents 110a-c.                                                   system (step 310), as described above with respect to FIG.3.
    Referring to FIG. 7, a flowchart is shown of a method that 45 When the operating system 112 Subsequently issues a
 is performed by the management process 404 upon bootup in resource access request which requests access to the pro
 one embodiment of the present invention to map the protected tected resources 204, the conventional memory access con
 resources 204 to a portion of the physical address space trol mechanisms in the computer system 200 may be utilized
 allocated to a particular operating system. The method shown to allow the operating system 112 to access the protected
 in FIG.7 may be performed between steps 308 (loading the 50 resources 204 only when the computer system 200 is not
 operating system 112) and step 310 (booting the system 220) operating in protected mode.
 of the method 300 (FIG. 3). Note that the method shown in           For example, recall that the method 500 illustrated in FIG.
 FIG. 7 may be performed for each partition (and hence for 5 determines in step 504 whether the resource access request
 each operating system) in a multi-partition computer system.      602 (FIG. 6) requests access to the protected resources 204.
    After loading the operating system 112 (step 308), the 55 Step 504 may be performed, for example, by using the mecha
 management process 404 identifies the default physical nisms which already exist in a partitionable computer system
 address space to allocate to the operating system 112 (Step for determining whether the address in the request 602 is
 702). As noted above, in a two-partition computer system, within the physical address space that has been allocated to
 each operating system may, by default, be allocated a physical the operating system 112. If the operating system 112
 address space which contains one fewer bit than the full 60 attempts to access the protected resources 204 while the com
 system address space. For example, in a two-partition com puter system 200 is operating in protected mode, these con
 puter system having a 50-bit system address, each operating ventional mechanisms will detect such an attempt by recog
 system may by default be allocated a 49-bit physical address nizing that the requested address falls outside of the physical
 space. More generally, the management process 404 may address space allocated to the operating system 112 (e.g.,
 identify the default physical address space to be allocated to 65 because its high bit is set). If the operating system 112 or other
 the operating system 112 using any pre-existing mechanism program attempts to access the protected resources 204 while
 in the computer system 220 for allocating physical address the computer system 200 is operating in non-protected mode,
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 the techniques described above with respect to FIG.5 may be described herein as examples of the hardware interface layer
 used to ensure that only programs having an appropriate 202, the techniques disclosed herein may be implemented in
 privilege level can access the protected resources 204.           conjunction with any computer architecture.
    One advantage of techniques disclosed herein is that they         The management process 404 is described herein as per
 enable specified resources, such as the partition configuration forming a variety of functions. The management process 404
 information 208 in the hardware interface layer 202, to be may alternatively be implemented, for example, as a manage
 protected from access even by programs having the most ment processor. A management processor is a processor com
 privileged access level. As described above, in a conventional monly used in servers to perform system management func
 computer system which implements access privileges, pro tions such as booting up the server with an appropriate
 grams (such as the operating system) having the most-privi 10 operating system.
 leged access level are allowed to access all resources in the        Although certain examples described herein refer to access
 computer system. Although Such unrestricted access may be control schemes which recognize two privilege levels (a
 acceptable or even desirable in certain computer systems, it is most-privileged level and a less-privileged level), the tech
 desirable in some computer systems (such as partitionable niques disclosed herein may be used in conjunction with
 computer systems) to protect certain resources (such as the 15 access control schemes which recognize any number of privi
 partition configuration information 208) from being accessed lege levels. Furthermore, although in the examples provided
 even by programs having the most-privileged access level. To above the protected resources 204 may be accessed only by
 make Such resources accessible to an operating system programs having the most-privileged level when the com
 would, for example, enable that operating system to modify puter system 220 is operating in protected mode, this is not a
 the partition configuration information 208 and thereby to requirement of the present invention. Rather, when the com
 interfere with the operation of other partitions. Such a result puter system 220 is operating in protected mode, access may
 would violate the inter-partition security that should be guar be provided to programs having any predetermined privilege
 anteed by a partitionable computer.                               level. For example, a set of privilege levels (such as privilege
    Another advantage of techniques disclosed herein is that levels Zero and one) may be specified as the set of privilege
 they enable an additional level of resource protection to be 25 levels for which access to the protected resources 204 will be
 added to a computer system without requiring the operating granted.
 system(s) or application programs in the computer system to          Although in the examples described above, the computer
 be modified. The techniques disclosed herein may, in other system 220 may be configured to operate in either protected
 words, be implemented in a manner that is transparent to the mode or non-protected mode, this is not a requirement of the
 operating system 112 and to application programs executing 30 present invention. Rather, a particular computer system may
 in the application layer 106. Such techniques thereby avoid be configured always to operate in protected mode, in which
 the added expense and time that would be required to modify case programs executing in the operating system layer 104
 the operating system and applications to work in conjunction and application layer 102 would never be provided access to
 with a protection scheme that protects the protected resources the protected resources 204.
 204 in the manner described above. Furthermore, because 35 The techniques described above may be implemented, for
 Such techniques are implemented independently of the oper example, in hardware, Software, firmware, or any combina
 ating system(s) and application programs, such techniques tion thereof. The techniques described above may be imple
 may protect the desired resources regardless of the manner in mented in one or more computer programs executing on a
 which the operating system(s) and application programs are programmable computer including a processor, a storage
 implemented.                                                   40 medium readable by the processor (including, for example,
    It is to be understood that although the invention has been Volatile and non-volatile memory and/or storage elements), at
 described above in terms of particular embodiments, the fore least one input device, and at least one output device. Program
 going embodiments are provided as illustrative only, and do code may be applied to input entered using the input device to
 not limit or define the scope of the invention. Various other perform the functions described and to generate output. The
 embodiments, including but not limited to the following, are 45 output may be provided to one or more output devices.
 also within the scope of the claims. For example, elements           Each computer program within the scope of the claims
 and components described herein may be further divided into below may be implemented in any programming language,
 additional components or joined together to form fewer com Such as assembly language, machine language, a high-level
 ponents for performing the same functions.                        procedural programming language, oran object-oriented pro
    Although particular examples of the protected resources 50 gramming language. The programming language may, for
 204 are provided above, the techniques disclosed herein may example, be a compiled or interpreted programming lan
 be used to protect any kind of resources. For example, the gllage.
 techniques disclosed herein may be used to protect partition         Each Such computer program may be implemented in a
 related system configuration information, regions of memory, computer program product tangibly embodied in a machine
 I/O controllers, processor configuration information, testing/ 55 readable storage device for execution by a computer proces
 diagnostic resources, and registers. Although the protected sor. Method steps of the invention may be performed by a
 resources 204 in the examples above are located in both the computer processor executing a program tangibly embodied
 hardware layer 102 and the hardware interface layer 202, this on a computer-readable medium to perform functions of the
 is not a requirement of the present invention. Rather, the invention by operating on input and generating output. Suit
 techniques disclosed herein may be used to protect resources 60 able processors include, by way of example, both general and
 located in any component or layer of a computer system.           special purpose microprocessors. Generally, the processor
 Similarly, although access control is performed by the man receives instructions and data from a read-only memory and/
 agement process 404 in the hardware interface layer 202 in or a random access memory. Storage devices Suitable for
 the examples above, this is not a requirement of the present tangibly embodying computer program instructions include,
 invention. Rather, access control may be performed by any 65 for example, all forms of non-volatile memory, such as semi
 component or combination of components in a computer conductor memory devices, including EPROM, EEPROM,
 system. Furthermore, although the IA-64 PAL and SAL are and flash memory devices; magnetic disks such as internal
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 hard disks and removable disks; magneto-optical disks; and               (B)(1) identifying an address by which the specified one of
 CD-ROMs. Any of the foregoing may be supplemented by, or                   the plurality of resources is identified in the request; and
 incorporated in, specially-designed ASICs (application-spe               (B)(2) determining that the specified one of the plurality of
 cific integrated circuits) or FPGAs (Field-Programmable                    resources is a protected resource if the address is in a
 Gate Arrays). A computer can generally also receive pro                    predetermined range of protected addresses.
 grams and data from a storage medium Such as an internal                 12. A computer-implemented method for use in a computer
 disk (not shown) or a removable disk. These elements will system including a plurality of resources, the method com
 also be found in a conventional desktop or workstation com prising steps of:
 puter as well as other computers suitable for executing com              (A) receiving a request from an operating system to access
 puter programs implementing the methods described herein, 10               a specified one of the plurality of resources;
 which may be used in conjunction with any digital print                  (B) determining whether the specified one of the plurality
 engine or marking engine, display monitor, or other raster                 of resources is a protected resource:
 output device capable of producing color or gray Scale pixels            (C) if the specified one of the plurality of resources is a
 on paper, film, display Screen, or other output medium.                    protected resource, performing steps of
    What is claimed is:                                             15       (1) if the computer system is operating in a protected
    1. A computer-implemented method for use in a computer                      mode of operation, then denying the request regard
 system including a plurality of resources, the method com                      less of access rights associated with the Software pro
 prising steps of:                                                              gram including software programs having a most
    (A) receiving a request from a software program to access                   privileged level; and
       a specified one of the plurality of resources;                        (2) processing the request based on access rights asso
    (B) determining whether the specified one of the plurality                  ciated with the operating system if the computer sys
       of resources is a protected resource:                                    tem is not operating in the protected mode of opera
    (C) if the specified one of the plurality of resources is a                 tion, by performing steps of
       protected resource, performing steps of                                  (a) identifying a privilege level associated with the
       (1) if the computer system is operating in a protected 25                   operating system;
          mode of operation, then denying the request regard                    (b) identifying the access rights associated with the
          less of access rights associated with the Software pro                   privilege level;
          gram including software programs having a most                        (c) granting the request only if the privilege level of
          privileged level; and                                                    the operating system is a most-privileged level
       (2) processing the request based on the access rights 30                    from among a plurality of privilege levels in the
          associated with the Software program if the computer                     computer system; and
          system is not operating in the protected mode of                (D) if the specified one of the plurality of resources is nota
          operation.                                                        protected resource, processing the request based on
    2. The method of claim 1, wherein the software program                  access rights associated with the operating system.
 comprises an operating system.                                     35    13. A device for use in a computer system including a
    3. The method of claim 1, wherein the software program plurality of resources, the device comprising:
 comprises an application program.                                        means for receiving a request from a software program to
    4. The method of claim 1, wherein the specified one of the              access a specified one of the plurality of resources;
 plurality of resources comprises a memory location.                      means for determining whether the specified one of the
    5. The method of claim 1, wherein the specified one of the 40           plurality of resources is a protected resource:
 plurality of resources comprises a processor register.                   protected resource access control means comprising:
    6. The method of claim 1, wherein the specified one of the              means for denying the request, regardless of access
 plurality of resources comprises a register in a hardware                      rights associated with the Software program including
 interface layer in the computer system.                                        Software programs having a most-privileged level, if
    7. The method of claim 1, wherein the step (C)(2) com 45                    the computer system is operating in a protected mode
 prises steps of                                                                of operation and the specified one of the plurality of
    (C)(2)(a) identifying a privilege level associated with the                 resources is a protected resource; and
       Software program;                                                    means for processing the request based on the access
    (C)(2)(b) identifying the access rights associated with the                 rights associated with the Software program if the
       privilege level; and                                         50          computer system is not operating in the protected
    (C)(2)(c) granting the request only if the access rights                    mode of operation and the specified one of the plural
       include a right to access the specified one of the plurality             ity of resources is a protected resource.
       of resources.                                                      14. The device of claim 13, wherein the software program
    8. The method of claim 7, wherein the computer system comprises an operating system executing in the computer
 implements a plurality of resource access privilege levels 55 system.
 including a most-privileged privilege level, and wherein the             15. The device of claim 13, wherein the software program
 step (C)(2)(c) includes a step of granting the request only if comprises an application program executing in the computer
 the privilege level of the software program is the most-privi system.
 leged privilege level.                                                   16. The device of claim 13, wherein the specified one of the
    9. The method of claim 8, wherein the software program 60 plurality of resources comprises a memory location in a
 comprises an operating system.                                        memory in the computer system.
    10. The method of claim 1, further comprising a step of:              17. The device of claim 13, wherein the specified one of the
    (D) if the specified one of the plurality of resources is not a plurality of resources comprises a register in a process in the
       protected resource, processing the request based on computer system.
       access rights associated with the Software program.          65    18. The device of claim 13, wherein the specified one of the
    11. The method of claim 1, wherein the step (B) comprises plurality of resources comprises a register in a hardware
 steps of:                                                             interface layer in the computer system.
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    19. The device of claim 13, wherein the step means for              21. The device of claim 20, wherein the software program
 processing the request comprises first identification means          comprises an operating system executing in the computer
 for identifying a privilege level associated with the software       system.
 program, second identification means for identifying the               22. The device of claim 13, further comprising:
 access rights associated with the privilege level, and means           means for processing the request based on access rights
 for granting the request only if the access rights include a right       associated with the software program if the specified one
 to access the specified one of the plurality of resources.               of the plurality of resources is not a protected resource.
                                                                        23. The device of claim 13, wherein the means for deter
    20. The device of claim 19, wherein the computer system      mining comprises means for identifying an address by which
  further comprises means for implementing a plurality of to the specified one of the plurality of resources is identified in
  resource access privilege levels including a most-privileged the request, and means for determining that the specified one
  privilege level, and wherein the second identification means of the plurality of resources is a protected resource if the
  comprises means for granting the request only if the privilege address is in a predetermined range of protected addresses.
  level of the Software program is the most-privileged privilege
  level.                                                                                    k   k   k   k   k
